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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


   ULTRAVISION TECHNOLOGIES, LLC,
                                           Case No. 2:19-cv-00291-JRG-RSP
               Plaintiff,
                                           JURY TRIAL DEMANDED
   v.

   HOLOPHANE EUROPE LIMITED,
   ACUITY BRANDS LIGHTING DE
   MEXICO S DE RL DE CV, HOLOPHANE
   S.A. DE C.V., and ARIZONA (TIANJIN)
   ELECTRONICS PRODUCTS TRADE
   COMPANY, LTD.,

               Defendants.


           DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
   OPPOSED MOTION TO STRIKE PORTIONS OF THE REBUTTAL EXPERT REPORT
       OF MICHAEL N. GERSHOWITZ, PE REGARDING NON-INFRINGEMENT
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   I.     INTRODUCTION

          Ultravision’s Motion is based on the misnomer that Mr. Gershowitz, Defendants’ non-

   infringement expert, is offering opinions that the terms “display surface” (construed by the Court

   as “sign surface”) and “area” have minimum size requirements. That is plainly not true — Mr.

   Gershowitz did not offer any such opinion. Instead, Mr. Gershowitz offered opinions rebutting

   and challenging the opinions and testing methodology used by Ultravision’s expert, Dr. Coleman,

   according to which Dr. Coleman measured only a small sub-section of the Accused Products’

   illumination output, as alleged support for his opinion that the products uniformly illuminate a

   “sign surface” or “area.” Accordingly, the experts’ disagreement is not whether the claimed “sign

   surface” and “area” have minimum sizes; the disagreement is whether Dr. Coleman’s testing

   methodology and results support his opinion that the Accused Products are configured to uniformly

   illuminate a “sign surface” or “area,” as required by the claims.

          For context, Dr. Coleman contrived a test methodology whereby he: (i) oriented the

   accused products in a manner for which they are not designed and that would void the warranties

   of the KAX and RSX products; (ii) selected a small sub-section of the area that they illuminated,

   approximately 1/10 of the overall illumination pattern; (iii) measured the illumination only in the

   sub-section of the area, and (iv) hid the remaining illumination through the use of a light absorbing

   Duvetyne fabric in his physical tests or failed to disclose the remaining illumination from his

   simulation tests. Examples of his simulated test results for the RSXF1 and physical test results for

   the RSX1 products follow, respectively:
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   that (i) he cherry picked a sub-section of the actual illuminated area that is many times larger; (ii)

   the crisp edges in his photo are created through his use

   of the Duvetyne fabric, not the actual illumination

   pattern; and (iii) the “area” is not evenly illuminated.

          To be clear,




                   In the real world, the test set-up and

   illumination pattern look very different, as illustrated

   by Mr. Gershowitz’s testing, such as depicted at ¶ 239

   of his Report (reproduced to the right). This real world

   testing is what Ultravision seeks to strike because it plai

   are not configured to direct uniform illumination in accordance with the Asserted Claims. This is

   readily apparent by comparing Mr. Gershowitz’s real world simulated and physical test results to

   Dr. Coleman’s manipulated test results that use Duvetyne light absorbing fabric to hide the actual

   illumination patterns (physical tests) or disregard the illumination outside of the artificially

   constrained test sub-section he selected. For example, the actual illumination patterns produced

   by                                                                      products are depicted in Mr.

   Gershowitz’s simulations depicted below (where the dotted rectangular box represents Dr.

   Coleman’s artificially constrained test sub-section):




                                                     3
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   Gershowitz Rep. Exhibit D, at pgs. 3, 15.2 There can be no dispute that the “area[s]” illuminated

   by the KAX 1 and RSX 1 are not configured to illuminate the small rectangular sub-section

   selected by Dr. Coleman, nor to illuminate an area or sign surface without “creat[ing hot spots or

   result[ing] in dead spots,” as reflected by the different colors that show different intensities of light

   within the illuminated area.

            The same is true for the Accused Sign-Vue LED II (SVLED II) product that produces a

   similar illumination pattern (where the dotted rectangular box again represents Dr. Coleman’s

   artificially constrained test sub-section):




                                       Again, it is beyond dispute that the Accused SVLED II product

   is not configured to illuminate the dotted rectangular sub-section and it creates noticeable


   2
     Richeson Decl., Ex. 1, Rebuttal Expert Report of Michael N. Gershowitz Regarding Non-
   Infringement (Gershowitz Rep.) Exhibit D (Gershowitz Rep. Ex. D) at pgs. 3 and 15.
   3
       Richeson Decl., Ex. 1, Gershowitz Rep. Ex. D at pg. 1.


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   unevenness in the overall illumination it produces.

             Mr. Gershowitz’s rebuttal testing and opinions that are the subject of this Motion, establish

   the flaws in Dr. Coleman’s analysis. When the cloak is removed from Ultravision’s arguments, it

   becomes clear that Ultravision’s Motion — while packaged as addressing a contradictory or

   waived claim construction — actually is intended to hide from the jury the flaws in its expert’s

   testing methodology.

   II.       FACTUAL BACKGROUND

             Plaintiff’s expert, Dr. Coleman, offered opinions in his expert report that Defendants

   infringe claims 10, 11, and 14 of U.S. Patent No. 8,870,410 (the “’410 Patent”) and claim 1 of U.S.

   Patent No. 8,870,413 (the “’413 Patent”) in connection with the SVLED LED II product and

   infringe claims 1-6, 8-10, 12-14 and 16-17 of U.S. Patent No. 10,223,946 (the “’946 Patent”) in

   connection with the KAX, RSX, and RSXF products.4

             The SVLED II is a billboard light designed to work with a second or third SVLED II to

   illuminate billboards.5 The KAX and RSX products are parking lot and street light LED luminaires

   that are designed, marketed and sold to be mounted on a pole 18-40 feet above the ground and

   meet certain roadway light distribution patterns established by the Illuminating Engineering

   Society of America (IES).6

             Each of the asserted independent claims for the ’410 and ’413 Patents require that a

   plurality of lenses or optical elements are “configured to direct light from that LED toward the

   display surface” and the “light intensity from each lens is substantially uniform across the entire

   display surface” (’410 Patent at claim 10), or “a ratio of the average illumination from that LED


   4
       Richeson Decl. Ex. 3, Coleman Rep. at ¶¶ 142, 150.
   5
       Richeson Decl. Ex. 4, Gershowitz Rep. at ¶137.
   6
       Richeson Decl. Ex. 4, Gershowitz Rep. at ¶¶ 58, 158-159, 161, 231.


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   fabric, using the test criteria identified in Dr. Coleman’s report.15 Mr. Gershowitz also replicated

   each of the simulation tests Dr. Coleman conducted for the Accused Products with the entire

   illumination depicted, rather than limiting the results to the 5.5 x 11 feet sub-section that Dr.

   Coleman used.16

   III.     ARGUMENT

            An expert witness may provide opinion testimony if “(a) the expert’s scientific, technical,

   or other specialized knowledge will help the trier of fact to understand the evidence or to determine

   a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the testimony is the product

   of reliable principles and methods; and (d) the expert has reliably applied the principles and

   methods to the facts of the case.” Fed. R. Evid. 702. Rule 702 requires a district court to make a

   preliminary determination, when requested, as to whether the requirements of the rule are satisfied

   with regard to a particular expert’s proposed testimony. See Kumho Tire Co. v. Carmichael, 526

   U.S. 137, 149 (1999); Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592–93 (1993).

            District courts have broad discretion in making Rule 702 determinations. Kumho Tire, 526

   U.S. at 152 (“[T]he trial judge must have considerable leeway in deciding in a particular case how

   to go about determining whether particular expert testimony is reliable.”). Generally, the factors

   that direct the trial court to consider as its ultimate inquiry are whether the expert’s testimony is

   sufficiently reliable, relevant, and non-prejudicial to be helpful to the finder of fact and thus to

   warrant admission at trial. United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010).




   15
        Richeson Decl. Ex. 4, Gershowitz Rep. at ¶¶ 224-241.
   16
        Richeson Decl. Ex. 1, Gershowitz Rep. Ex. D.



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          A.      MR. GERSHOWITZ’S REBUTTAL OPINIONS ARE HELPFUL TO THE
                  FINDER OF FACT

          The standard cited by Ultravision and articulated in BMC Software, Inc. v. Servicenow,

   Inc., is that an expert’s testimony must be “sufficiently reliable and relevant to be helpful to the

   finder of fact” to warrant admission at trial. BMC Software, Inc. v. Servicenow, Inc., No. 2:14-cv-

   903-JRG, 2016 WL 367251, at *1 (E.D. Tex. Jan. 29, 2016) (citing United States v. Valencia, 600

   F.3d 389, 424 (5th Cir. 2010)). Mr. Gershowitz’s opinions plainly meet this standard as they are

   clearly relevant, rebuttal opinions, and Ultravision has not alleged that they are unreliable.

          Ultravision alleges that paragraphs 132-139, 195-201, 215-220, 222, 228, 232-233, 236,

   and 239 impose a minimum size requirement on the terms “sign surface” and “area.” Dkt. 126 at

   pg. 5. Contrary to Ultravision’s assertion, the identified paragraphs do not introduce any minimum

   size limitations for the terms “sign surface” or “area.” Instead, the paragraphs provide context to

   the finder of fact on the flaws in Mr. Coleman’s testing methodology and explain why that testing

   does not support his infringement opinion for the Accused Products.

          Dr. Coleman’s entire infringement opinion for the Accused Products rests upon a showing

   that the Accused Products are capable of uniformly illuminating an artificially determined and

   constrained sub-section of their illumination output, even though they plainly are not configured

   or designed to uniformly illuminate that sub-section. The paragraphs of Mr. Gershowitz report

   that Ultravision seeks to strike, expose this flawed testing methodology by illustrating the actual

   area illuminated by the Accused Products and explaining why these products are not “configured

   to” illuminate a “sign surface” or “area.” In short, the paragraphs identified by Ultravision in their

   Motion, highlight the absurdity of Dr. Coleman’s opinion, which amounts to: any light that is

   merely “capable of” illuminating an arbitrarily selected rectangular area, infringes the Asserted

   Patents. Richeson Decl. Ex. 8, Gershowitz Deposition (Gershowitz Dep.) at 112:3-12 (“otherwise,



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   we could take a ‐‐ any flood light with any pattern and carve out some smaller rectangular space

   and say, look, it's illuminating that uniformly or evenly or whatever. But it's absurd because maybe

   80 percent of the light goes beyond that area.”).

             Mr. Gershowitz opinions in the above-identified paragraphs reflect that every independent

   Asserted Claim includes a “configured to” limitation. Mr. Gershowitz’s opinions reflect a plain

   and ordinary meaning of “configured to”, as would be understood by a person of ordinary skill in

   the art (POSITA) in the context of the Asserted Claims that is consistent with the specification and

   is akin to designed to.17 See also Richeson Decl. Ex. 8, Gershowitz Dep. at 98:14-99:13 (“from

   the perspective of a POSITA, the notion of "configured to" versus "designed to" is a question of

   are you designing the luminaire or are you using the luminaire” . . . “configured here is speaking

   of how the luminaire is designed.”); ’410 Patent at 2:61-64 (the specification emphasizes problems

   with light that does not strike the display surface becomes wasted illumination (e.g., light

   pollution)). This interpretation for the plain and ordinary meaning of “configured to” is consistent

   with this Court’s interpretation of that term. SIPCO, LLC v. ABB, Inc., No. 6:11-CV-48, 2012 WL

   3112302, at *11 (E.D. Tex. July 30, 2012) (Love, J.) (“[T]he claims mandate that the devices are

   ‘configured to’ perform particular functions. Interpreting ‘configured to’ as requiring only mere

   capability would eliminate any meaningful limits to the claims. Accordingly, the Court finds that

   ‘configured to’ means ‘actually programmed or equipped with hardware or software to.’”); see

   also Aspex Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1349 (Fed. Cir. 2012) (noting

   the phrase “configured to” has a narrower meaning than merely “capable of” or “suitable for”; “the

   phrase ‘adapted to’ is most naturally understood to mean that the arms and magnetic members are

   designed or configured to accomplish the specified objective, not simply that they can be made to



   17
        Richeson Decl. Ex. 4, Gershowitz Rep. at ¶¶ 129, 139, 173-174.


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   serve that purpose”); Wapp Tech Ltd. P'ship v. Seattle Spinco, Inc., 4:18-CV-469, 2020 WL

   1983087, at *20 (E.D. Tex. Apr. 27, 2020) (holding “configured to” means more than “capable

   of” in construing “configured to” as “actually programmed to”).

             It is notable that Ultravision and Dr. Coleman have previously articulated to this Court the

   very same understanding of the “configured to” limitations. In their Claim Construction Reply

   Brief, Ultravision noted that “[a] lighting designer has the ability to select the area that he or she

   wishes to be lit evenly, and to select a fixture designed to light that area appropriately.” Dkt, 99 at

   pg. 10. See also e.g., Dkt. 96 at pg. 30, citing the Expert Declaration of Dr. Coleman in support of

   Claim Construction (“The designer would understand that manufacturers provide information on

   how the apparatuses should be installed, and that the ratio is that which the lighting apparatus is

   designed to provide when installed and used according to the manufacturer’s instructions,

   guidelines, and/or recommendations.”).

             All of Mr. Gershowitz’s opinions identified in Ultravision’s Motion are relevant to the fact

   finder in determining whether the Accused Products are configured in the manner required by the

   claims. Mr. Gershowitz provides opinions at paragraphs 132-139 that the testing conducted by

   Dr. Coleman for the SVLED II has numerous flaws and shows that the product was not configured

   or designed to illuminate the 5.5. x 11 feet junior poster board used by Dr. Coleman in his testing.18

   Mr. Gershowitz opines in paragraphs 195-201, that Dr. Coleman selected an artificially small sub-

   section (of the illuminated area) in which to measure lumen levels.19 Indeed, Mr. Gershowitz notes

   that if “the KAX and RSX luminaries were configured or designed to direct light to the “area”

   measured by Dr. Coleman, the level of wasted light that extends off the edges of the junior poster



   18
        Richeson Decl. Ex. 4, Gershowitz Rep. at ¶¶ 132-139.
   19
        Id.at ¶¶ 195-201


                                                     12
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   board would not overwhelm the light that falls within the dimensions of the junior poster board.”20

   Mr. Gershowitz opines in paragraphs 215-220 and 222 that “the RSXF products are designed to

   produce a specific illumination pattern that is matched to an optic; not to illuminate an area”

   “which creates noticeable unevenness when one takes into account the entire illumination provided

   by the light.”21 Finally, in paragraphs 228, 232-233, 236, and 239 Mr. Gershowitz recreates the

   physical test of the KAX and RSX products and details, and unlike Dr. Coleman actually shows,

   how the KAX and RSX are not designed to illuminate the junior poster board that Dr. Coleman

   tested.22 Instead, they are designed to be positioned 18-40 feet mounted on a pole to emit a specific

   illumination pattern consistent with the IES.

             Mr. Gershowitz’s report offers opinions that a POSITA, who reads the Asserted Claims in

   light of the specification for the Asserted Patents, would understand the claimed lighting assembly

   is designed to uniformly illuminate a sign surface or area; rather than a small sub-section of an

   area that actually is illuminated area.23 Through his testimony, Mr. Gershowitz does not opine that

   all of the claims require a minimum size; instead, he offers the rebuttal opinion that the sub-section

   to which Dr. Coleman points is not the actual area illuminated by the Accused Product, as shown




   20
        Id. at ¶201.
   21
        Id. at ¶¶ 215-220, 222
   22
        Id.at ¶¶ 228, 232-233, 236, and 239
   23
        See GREE, Inc. v. Supercell Oy, No. 2:19-CV-00071-JRG-RSP, 2020 WL 3893697, at *2 (E.D.
        Tex. July 9, 2020) (Payne, J.) (finding ¶¶ 76-80 of Dr. Claypool’s report constituting typical
        non-infringement analysis, as Dr. Claypool was simply describing claim limitations and opining
        on what a POSITA would consider the plain meaning); see also Biscotti Inc. v. Microsoft Corp.,
        Case No. 2:13-cv-01015-JRG-RSP, Dkt. No. 235 at *3 (E.D. Tex. May 30, 2017) (Payne, J.)
        (finding defendant’s expert’s testimony a non-infringement opinion and proper for the jury, as
        he opined that a person of skill in the art would not find the accused product meets the “captured
        video stream” limitation).


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   by, among other things, the amount of illumination outside of the artificially small rectangle

   selected by Dr. Coleman.

          B.      ULTRAVISION’S MOTION TO STRIKE IS WITHOUT MERIT

          Mr. Gershowitz does not “deviate impermissibly” from the Court’s Claim Construction

   Order as alleged by Ultravision. To the contrary, Ultravision disagrees with the appropriate

   rebuttal opinions of Mr. Gershowitz and is using this Motion, as a way to preserve the contrived

   testing methodology of its own expert.

          Furthermore, the cases cited by Ultravision are inapposite. Ultravision cites Network-1

   Techs., Inc. v. Alcatel-Lucent USA, Inc., for the proposition that “[e]xpert testimony based on an

   impermissible claim construction is properly excluded as irrelevant and on the basis that the

   evidence could confuse the jury.” Network-1 Techs., Inc. v. Alcatel-Lucent USA, Inc., No. 6:11-

   cv-492-RWS-KNM, 2017 WL 4020591, at *3 (E.D. Tex. Sept. 13, 2017) (citing EMC Corp. v.

   Pure Storage, Inc., 154 F. Supp. 3d 81, 109 (D. Del. 2016)). The holding in Network-1 Techs.,

   Inc. simply is not relevant the present dispute over Mr. Gershowitz’s opinions that rebut

   deficiencies in Dr. Coleman’s testing methodologies and opinions. The Court in Network-1 Techs.,

   Inc. found that opinions related to how the construed terms operate that have support in the claim

   language and specification, are not inconsistent with the court’s claim construction. Network-1

   Techs., Inc., 2017 WL 4020591, at *6 (“To the extent Dr. Knox opines that detection must happen

   during (contemporaneously with) start up, Defendants have not demonstrated any inconsistency

   with the Court’s claim construction. As Plaintiff notes, this opinion finds support in the claim

   language and specification.). Mr. Gershowitz’s opinions on the testing conducted by Dr. Coleman

   are clearly supported in the claim language and specification, as noted by this Court in the Claim

   Construction Order related to the “display surface” term. Dkt. 111 at pgs. 47-48 (citing ’410 Patent

   6:47-52 (“It is understood that various standard configurations of the lighting assembly 11 may be


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   developed for various billboard and/or other externally illuminated sign so that a particular

   configuration may be provided based on the parameters associated with a particular billboard

   and/or externally illuminated sign.).

           Likewise, in citing, Exergen Corp. v. Wal- Mart Stores, Inc., Ultravision incorrectly

   assumes that Mr. Gershowitz is contradicting the Court’s Claim Construction for the “sign surface”

   and “area” terms. Dkt. 126 at pg. 4; Exergen Corp. v. Wal- Mart Stores, Inc., 575 F.3d 1312, 1321

   (Fed. Cir. 2009). Ultravision cites to Mr. Gershowitz’s deposition testimony regarding the overall

   goals of the invention, as support for its argument. Dkt. 126 at pg. 6. As discussed above, Mr.

   Gershowitz’s offered opinions related to the “configured to” claim language in the Asserted

   Claims, that do not contradict the “sign surface” and “area” terms. Furthermore, “[w]hen a court

   does not construe a term or orders that ordinary meaning applies, expert testimony on the

   understanding of a skilled artisan is appropriate to assist the jury. See e.g, EMC Corp., at 109.

   Additionally, opinions regarding the specification or related embodiments amounts to nothing

   more than educating the jury about the teachings of an asserted patents. SSL Servs., LLC v. Citrix

   Sys., Inc., 940 F. Supp. 2d 480, 492 (E.D. Tex. 2013) (“expert’s testimony regarding the preferred

   embodiments amounted to nothing more than an effort to educate the jury about the teachings of

   the ... patent”).

           Ultravision has not presented case law that would compel this Court to strike Defendants’

   rebuttal expert testimony concerning Dr. Coleman’s testimony.

   IV.     CONCLUSION

           For all the reasons set forth above, Defendants respectfully request that this Court deny

   Ultravision’s motion to strike portions of the rebuttal expert report of Mr. Gershowitz regarding

   non-infringement.




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    December 14, 2020               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE


           I certify that on December 14, 2020, I electronically filed the foregoing with the Clerk

    of Court using the CM/ECF system, which will send notification of such filing to all counsel

    of record.

                                                       /s/ Melissa R. Smith
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